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                  UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF ALABAMA
                        EASTERN DIVISION

DR. MICHAEL L. STERN,
     Plaintiff,

v.                                              Case No. 3:18-cv-807-CLM

DR. CHRISTOPHER B.
ROBERTS, et al.,
     Defendants.


                           FINAL JUDGMENT

      In accordance with the court’s orders on Aistrup and Stern’s posttrial
motions (docs. 247 & 249), the November 15, 2022 jury verdict (doc. 193), and
the parties’ joint calculation of cumulative back pay and interest (doc. 250),
the court rules as follows:

         • The court AMENDS the judgment entered in favor of Dr. Stern
           and against Dr. Aistrup (doc. 195) and ENTERS FINAL
           JUDGMENT in favor of Dr. Stern and against Dr. Aistrup in the
           amount of $42,836.35 in cumulative back pay and prejudgment
           interest, $1.00 in nominal damages, and $500,000.00 in punitive
           damages.

         • The court AWARDS Dr. Stern $72,723.33 in front pay in lieu of
           reinstatement.

         • The court AWARDS Dr. Stern an additional $1,113.34 in front
           pay to make up for the lack of a raise in October 2018.

        •    The court ORDERS Dr. Christopher B. Roberts to calculate Dr.
            Stern’s salary effective October 1, 2023, as if Dr. Stern’s salary
            from October 1, 2022 to September 30, 2023 was $146,170.
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The court DIRECTS the Clerk of Court to close this case.

Done and Ordered on July 13, 2023.


                           _________________________________
                           COREY L. MAZE
                           UNITED STATES DISTRICT JUDGE
